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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA

SOLUTIONS 2 GO, LLC, )
)
Plaintif`f, ) CIVIL DIVISION
v. )
) Case No. 2016-cV-22967-UU
WORLD MAGIC GAMES, LLC, )
HASSAN ALAWIE, )
)
Defendants. )
)
)

 

DEFENDANT HASSAN ALAWIE’S VERIFIED EMERGENCY MOTION TO
VACATE DEFAULT FINAL JUDGMENT

COMES NOW, the Det`endant, HASSAN ALAWIE (hereinat`ter “HASSAN
ALAWIE” or “Defendant”), by and through undersigned counsel, moves to vacate a Final
Det`ault Judgment pursuant to Federal Rule of Civil Procedure 60(b), and in Support states
as follows:

I. NATURE OF THE MOTION AND BACKGROUND FACTS

A. The Prior California Lawsuit.

1. In May 2016, the Plaintift` herein filed a separate Civil Complaint in the
Superior Court of Orange County, California, against the Det`endants herein (the
“California Complaint,” Which initiated the “Calit`ornia Lawsuit”). A true and correct copy
of the California Complaint is attached hereto as Exhibit “A”.

2. Plaintiff alleged that Defendant WORLD MAGIC GAMES, LLC
(_hereinafter “WORLD MAGIC GAMES”) breached a contract, and that HASSAN

ALAWIE then breached a guaranty securing payment of WORLD MAGIC GAMES’ debt.

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3. Undersigned counsel is not a member of the California bar, and accordingly
Was not the counsel of record for Defendants in the California Lawsuit. Undersigned
counsel’s office Was not responsible for any filings in the California Lawsuit. See Exhibit
“B,” Affidavit of undersigned counsei, attached hereto as Exhibit “B” and incorporated
herein by reference, at 1l 4.

4. However, undersigned counsel Was instrumental in retaining California
counsel for the Defendants and Was heavily involved in the legal and factual discussions
(of improper venue and personal jurisdiction as to WORLD MAGIC GAMES, and
improper venue, personal jurisdiction, and failure of guaranty as to HASSAN ALAWIE)
With California counsel See EX. “B” at 11 5 .

5. ln fact, many of the legal arguments raised in the California LaWsuit Were
based upon the legal research and factual defenses prepared by undersigned counsel, Which
Were then communicated to the California counsel of record for Defendants and ultimately
resulted in the dismissal of the California Lawsuit and the filing of the instant action in
Florida. See Ex. “B” at 1l 6.

6. The undersigned counsel is a solo practitioner. As reflected in her aftidavit,
attached hereto as Exhibit “C,” and in undersigned counsel’s own affidavit (Ex. “B”),
undersigned counsel employs Christina Tigges as his secretary and legal assistant See EX.
“B” atll 7', Ex. “C” at ‘H 3.

7. As part of her job responsibilities, Ms. Tigges is responsible for (a)
organizing undersigned counsel’s email communications (filing emai`ls and bringing
significant communications to the direct attention of undersigned counsel); and (b)

maintaining undersigned’s calendar. See EX. “B” at ll ll Ex. “C” at ll 10.

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8. Undersigned counsel reasonably relies upon l\/fs. Tigges in this manner to
ensure that all important matters and communications are brought to his attention and are
reflected on his calendar. See EX. “B” at 11 12.

9. All of the ECF notices that have been served upon undersigned counsel by
this Court in this case were reviewed, sorted, and filed by l\/ls. Tigges. See EX. “B” at 11 13;
Ex. “C” at 11 8.

lO. Af`ter he appeared in this action, undersigned counsel did not see any ECF
notices or the filings because his secretary filed them. See Ex. “B” at 11 14.

11. Ms. Tigges maintains undersigned counsel’s calendar and places deadlines
on it when undersigned counsel is counsel of record or the primary attorney responsible for
handling a case. See EX, “B” at 11 15.

12. During the pendency of the California Lawsuit, Ms. Tigges Was aware that
the undersigned’s office was not the primary firm handling the out~of-state litigation Ms.
Tigges was instructed that undersigned counsel was merely monitoring the California
Lawsuit and providing advice to local counsel for the Defendants in California See Ex.
“B” at 11 8; Ex. “C” at 11 3.

l3. l\/[s. Tigges was instructed that her only responsibilities with respect to the
California Lawsuit were to file undersigned counsel’s emails, filings, and papers related to
the case. Because the matter was being handled by California counsel, Ms. Tigges was not
obligated to monitor deadlines related to the case or place them on undersigned counsel’s
calendar, because this was being handled by Defendants’ attorneys in California See EX.
“B”at118;EX. “C” at 11 4.

B. This Florida Lawsuit and HASSAN ALAWIE’s Guaranty for Debts of
World Magic Entertainment, Inc.

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14. On or about June 24, 2016, the Plaintif`f herein voluntarily dismissed the
California Lawsuit. A true and correct copy of the Request for Dismissal of the California
Lawsuit is attached hereto as EXhibit “D”.

15. After dismissing the California Lawsuit, on or about August 2016, the
Plaintiff filed the instant action, which is nearly identical to the California Lawsuit and is
against the same Defendants. See D.E. l.

16. Ms. Tigges did not understand that the California Lawsuit was eventually
dismissed and a new action was filed in Florida. . See Ex. “B” at 11 25; EX. “C” at 11 5.

l7. Plaintiff alleged two causes of action in this case: (a) breach of contract
against WORLD MAGIC GAMES; and {b) breach of guaranty against HASSAN
ALAWIE.

13. Plaintiff attached a personal guaranty (“Guaranty”) as EXhibit “B” to its
Complaint, which purports to be a Guaranty dated January 4, 2010 by which HASSAN
ALAWIE guarantied the debts of non-party World Magz'c Entertainment, Inc. (“World
Magic Entertainment”).

19. HASSAN ALAWIE is the President of` non-party World Magic
Entertainment.

20. Plaintiff" s allegation that HAS SAN ALAWIE executed a personal guaranty
for the debts of Defendant WORLD MAGIC-GAMES is refuted by the Guaranty attached
as an Exhibit to its Complaint. Non-party World l\/lagic Eritertainment is a distinct legal
entity from WORLD l\/IAGIC GAMES.

C. Defendant HASSAN ALAWIE Failed to Serve any Papers in Response

to the Florida Lawsuit, but Such Negligence is the Pr'oduct of Excusable
Neglect.

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21. Undersigned counsel was retained by Defendants to represent them in this
Florida lawsuit On August 8, 2016 undersigned counsel filed a Notice of Appearance
[D.E. 11] and a Motion for Enlargement of Time [D,E. 10] to respond to Plaintiff` s
Complaint in this case.

22. Undersigned counsel sought a twenty (20) day enlargement of time to
respond to Plaintiff’ s Complaint in the Florida case. D.E. 10.

23. The following day, the Court granted Defendants a brief enlargement of
time_through August 12, 2016_to plead in response to the Florida Complaint. D.E. 13.
The Court granted Defendants four (4) of the twenty (20) days that were requested

24. Neither HASSAN ALAWIE nor undersigned counsel Was aware that the
Order Granting Enlargement had been entered requiring a responsive pleading in four days,
and only discovered and reviewed the foregoing after learning of the existence of the
Default Final Judgment.

25. During the period of enlargement, undersigned counsel prepared a draft
Motion to Dismiss based upon 1) improper venue and jurisdiction of both Defendants and
2) the failure of Plaintiff to state a claim against HASSAN ALAWIE due to the Guaranty-
which guaranties the debts of non-party World Magic Entertainment rather than the debts
of WORLD MAGIC GAMES. See EX. “B” at 11 21 . A true and correct copy of this Motion
to Dismiss is attached as Exhibit “E.”

26. Additionally, undersigned counsel prepared an Answer for WORLD
MAGIC GAMES. See EX. “B” at 11 22. A true and correct copy of this Answer is attached

hereto as Exhibit “F”.

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27. Undersigned counsel placed the l\/[otion to Dismiss and Answer on the desk
of his secretary under the mistaken belief that she was monitoring ECF notices and
deadlines in the Florida case. See EX. “B” at 1124.

28. Undersigned counsel expected that l\/ls. Tigges would understand that by
placing the Motion to Dismiss and Answer on her desk, he was requesting that she e-file
the documents at the appropriate time in this case and before any filing deadline See EX.
“B” at 11 24.

29. Unfortunately, undersigned counsel’ s secretary did not recognize that a new
Florida lawsuit involving the same parties and legal theories has the California Lawsuit
had been filed. See Ex. “C” at 11 5.

30. Ms. Tigges filed the draft Motion to Dismiss and Answer in the internal file
maintained for the Defendants’ dispute, rather than e-filing them in this action. The
documents were never e-filed. See Ex` “C” at 11 12, 13.

31. This unfortunate situation was the result of a misunderstanding between
undersigned counsel and Ms. Tigges; she did not recognize that undersigned counsel was
the primary attorney in charge of this case pending in Florida, and that accordingly she
would need to e-file documents in the case. Ms. Tigges did not understand the significance
of the ECF notices and filings that undersigned counsel received after appearing in this
action. Tlie secretary did riot understand that it was her responsibility to ensure that all
deadlines in this case were properly placed on the undersigned’s calendar. See Ex. “B” at
1127; Ex. “C” at11 12.

32. On August 17, 2016, the Court entered an Order to Show Cause [D.E. 141

requiring that Defendants show cause why they should not be held in default for failing to

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plead in response to PlaintiffJ s Complaint by the deadline established in the Order Granting
Enlargernent.

33. Neither HASSAN ALAWIE nor undersigned counsel was aware that the
Order to Show Cause had been entered at that time, and only discovered and reviewed the
foregoing after learning of the existence of the Default Final Judgment

34. Ms. Tigges filed the ECF notice and the Order to Show Cause in the internal
office filing system, and undersigned counsel never saw them. See EX. “B” at 11 14; Ex.
“C” at 11 16.

35. On August 22, 2016, the Plaintiff filed its Motion for Default Final
Judgment [D.E. 15].

36. Neither HASSAN ALAWIE nor undersigned counsel was aware that
Plaintiff had filed its Motion for Default Final Judgment at that time, and only discovered
and reviewed the foregoing after learning of the existence of the Default Final Judgment

37. l\/ls. Tigges filed the ECF notice and the Motion for Default Final Judgment
in the internal office filing system, and undersigned counsel never saw them. See Ex_ “B”
at 11 32; Ex. “C” at 1120.

38. The next day, on August 23, 2016, the Clerk entered a Default against
Defendants [D.E. 16].

39. Neither HASSAN ALAWIE nor undersigned counsel Was aware that the
Default had been entered at that time, and only discovered and reviewed the foregoing after
learning of the existence of the Default Final Judgment

40. On August 25, 2016, the Court entered an Order on Motion for Final Default

Judgment [D.E. 181 and a Default Final Judgment against Defendants [D.E. 19].

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41. Neither Defendant HASSAN ALAWIE nor undersigned counsel were
aware that the Default Final Judgment had been entered at that time, and only discovered
and reviewed the foregoing after learning of its existence as described below.

42. Ms. Tigges filed the ECF notices, the Order on Motion for Final Default
Judgment, and the Default Final Judgment in the internal office filing system, and
undersigned counsel never saw them. See Ex. “B” at 11 38; Ex. “C” at 11 22.

43. The Default Final Judgment provides that Defendant WORLD MAGIC
GAMES, LLC and its purported “guarantor” Defendant HASSAN ALAWIE are jointly
and severally liable to Plaintiff for the significant sum of$911,000.00.

44. Neither undersigned counsel nor Defendants exhibited any bad faith in their
failure to plead in response to Plaintiff"s Complaint. Unfortunately, due to communication
problems and simple misunderstandings, Defendants missed the pleading deadline

45. The undersigned’s secretary_not fully understanding that a new Florida
action involving the same parties had commenced_believed the same course of conduct
applied to papers related to the Florida case as to those related the previous California
Lawsuit, i.e., that undersigned counsel’s office would be assisting a different counsel of
record but not filing actual pleadings l\/ls. Tigges believed that her only duties in the case
were administrative_to collect and file email correspondence. She did not know that she
also needed to monitor deadlines and ensure that the responsive pleadings were e-filed.

46. The secretary’s misunderstanding and the Defendants’ failures to plead in
response to the Complaint was due to mistake, inadvertence, and excusable neglect, in light
of the California action involving the same claims and the same parties

D. Defendant HASSAN ALAWIE Has Meritorious Defenses.

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47. ln his unfiled Motion to Dismiss for Failure to State a Cause of Action,
HASSAN ALAWIE alleges a meritorious defense. ln fact, under a plain reading of
Plaintiff`J s Complaint in this case_when it is considered in conjunction with its controlling
exhibits, as the Court must do_HASSAN ALAWIE cannot be held personally liable for
breach of the Guaranty, because it does not apply to the debt of the corporate defendant

48. Plaintiff’ s Complaint asserts that WORLD MAGIC GAMES failed to pay
for certain products and breached a contract with Plaintiff, resulting in a debt owed to
Plaintiff by WORLD MAGIC GAMES.

49. Plaintiff conclusorin alleges that HASSAN ALAWIE breached the
Guaranty by failing to pay the debts of WORLD MGIC GAMES. Specifically, it states:
As an inducement for Solutions to Sell these video games Consoles and
accessories to World Magic on Credit, Alawie, a principle of World Magic,
signed a “Personal Guaranty,” in which he agreed to “unconditionally
guarantee” the payment of any and all debts owed from World Magic to

Solutions.

50. But the Exhibit attached and incorporated as a matter of law into Plaintiff`s
Complaint makes clear that the “World Magic” referred to in Plaintiff s Complaint is non-
party World Magic Entertainrnent, not WORLD MAGIC GAMES.

51. The Guaranty is dated Janaary 4, 2010, and reflects the guaranty of
l-IAS SAN ALAWIE for the debts of a wholly separate corporate entity.

52. WORLD MAGIC GAMES did not even exist in lanuary 2010, when the
Guaranty attached as Exhibit “B” to Plaintiff’s Complaint was executed.

53. As reflected in the attached printout from the website of the Florida

Secretary of State, WORLD MAGIC GAl\/lES was not organized until Febiuary 2011,

more than one-year after the Guaranty for World l\/lagic Entertainnient Was purportedly

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executed by HASSAN ALAWIE. See`attached Exhibit “G.”

54. HASSAN ALAWIE should not be held personally liable for a debt of
WORLD MAGlC GAl\/IES pursuant to his Guaranty of the debts of non-party World
l\/lagic Entertainnient, Inc. Given that HASSAN ALAWIE’s only liability in this case (and
his liability under the Final Default Judgment) is entirely premised upon the Guaranty,
which does not apply, HASSAN ALAWIE has a meritorious defense in this case. This is
exactly the defense that HASSAN ALAWIE intended to raise in his l\/lotion to Dismiss,
which unfortunately was not filed due to excusable neglect as described above.

E. Undersigned Counsel Finally Learned of the Final Default Judgment

When He Received Plaintif`f’s Notices of Deposition in Aid of Execution
by Certified Mail.

55. Undersigned counsel first became aware of the Final Default Judgment
when he received a UPS hard copy of discovery in aid of execution (one for l-IASSAN
ALAWIE and the other for WORLD l\/IAGlC GAMES) by certified mail on or arounf
October 8, 2016. This was the first time that undersigned counsel recognized that the
default judgment had been entered against Defendants See Ex. “B” at 11 37.

56. HASSAN ALAWIE has moved quickly and diligently to determine what
caused the Default Final Judgment to be entered against him, and to take the steps necessary
to “undo” the improper determination that he is personally liable for a $911,000 debt of an
entity that was not within the purview of his Guaranty,

57. HASSAN ALAWIE immediately sought the advice of his counselinot
only the undersigned, but other attorneys as well. HASSAN ALAWIE and his legal

advisors immediately began to investigate how the Default Final Judgment could have been

entered against him, and upon the discovery of the problems that resulted in the Default

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Final Judgment, and he now expeditiously moves to vacate it.

58. The Final Default Judgment against HASSAN ALAWIE should be vacated
pursuant to Federal Rule of Civil Procedure 60(b) for at least two reasons.

5 9. First, even assuming that the allegations in Plaintiff’s Complaint are true
because HASSAN ALAWIE failed to file any response contesting them, the Final Default
Judgment against him individually is improper because the Complaint (and specifically the
controlling Guaranty in favor of non-party World l\/lagic Entertainment.) does not state a
claim against HASSAN ALAWIE. PlaintiffJ s Complaint cannot allege that HASSAN
ALAWIE breached the Guaranty by failing to pay WORLD MAGIC GAMES debt,
Plaintiff is playing a shell game and attempting to use the Guaranty for the debt of WORLD
l\/IAGIC GAMES when that entity is not within the scope of the Guaranty and did not even
exist when it was executed

60. Second, the Final Default Judgment should be vacated due excusable
neglect, because Defendant HASSAN ALAWIE can show that he has a meritorious
defense The failure to timely plead in response was the result of miscommunications
between undersigned counsel and his secretary, and the secretary’s confusion of this
litigation in Florida with prior litigation regarding the same subjects between the same
parties in California The Court should allow the claim against HASSAN ALAWIE to be
determined on its merits, especially given the significant amount of the judgment
II. ARGUMENT

61. Federal Rule of Civil Procedure 60 (b) provides in pertinent part as follows:

On motion and just terms the court may relieve a party of

its legal representative from a final judginent, order or
proceeding for the following 'reasons:

ll

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(1_) nii.stake, inadvertence surprise, or excusable neglect

(4} the judgment is void;
[orj
(6) any other reason that justifies rel iei`.

62. The entry of a default judgment is one of the most severe sanctions that a
federal court can impose upon a party for failure to comply with the federal Rules of Civil
Procedure See, e. g il/{i'lr'hell v. li/illicrmsou Tobaceo Cr)rp., 294 F. 3d l309, 1316-17 (11Lli
Cir. 2002`) (“Entry of aj udgrnent by default is a drastic remedy which should be used only
in extreme situations."’).

63. Federal coiu‘ts prefer to decide cases upon their inerits, rather than based
upon technicalities There is a strong judicial preference for deciding cases on their merits_;
this policy militates in favor of setting aside default final judgments and encourages a
liberal construction of F ederal Rule ofCivil Procedure 60. See 1a re Werldwr'de Web iSj)s.,
fact 328 F`. 3d 129i, l295 (1 lth Cir. 2003_). So if this Court has any doubt as to whether
the Final Default Judgment against HASSAN ALAWIE should be vacated_, it should rule
that the claim should be determined on its merits

64. flereq the Final Default Judgment should be vacated because it is contrary
to the controlling Exhibit to Plaintiff s Complaint. and because the failure of to serve papers
in response was the product of excusable neglect

A. Even Admitting the AIlegations in Plaintiff’s Complaint Are True, When
the Guaranty Exhibit Is Considered, It is Clear that Plaintiff’s Complaint
Cannot State a Claim for Personal Liability Against Defendant HASSAN
ALAWIE.

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i. A default judgment is improper if the Complaint fails to state a
claim for which relief can be granted.

65. Under the F ederal Rules ofCivil Procedure, the practical result of failing to
respond to a Complaint is to admit the well-pleaded facts therein But "'fw] hile a defaulted
defendant is deemed to admit the plaintiffs well-pleaded allegations of f`act, lie is not held
to admit facts that are not well-pleaded or to admit conclusions of law." Sarrain v. Hamlia
Terrciee Foaaa’., 789 F. 3d 1239, 1245 (1lth Cir. 2015) (quoting Cotlon v. Mass. Mz.il; L._ife
lm'. Co. , 402 F. 3d l2677 1278 (`l ith Ci.r. 2005). A defaultjudgment should only be entered
"`wlien there is a sufficient basis in the pleadings for the judgment entered."' let (quoting
h/"r'shimaisa C`oasrr. Co. v. Hoaston Nar’l ,Baak, 515 F.2d i200, 1206 (5th Cir. 1975)).

66. The Eleventh Circuit recently addressed what constitutes a “sufficient basis
in the pleadi;ngs” necessary to support a default judgment, and held that the standard is
"‘al<in to that necessary to survive a motion to dismiss for failure to state a claim.” lai See
C`,‘l'zzicia.rama v. Mo'zda Motor Corp., 123 .F_`)d 1353, 1370 n. 41 (l. lth Cir. 1997) (“A default
judgment cannot stand on a complaint that fails to state a claim,”).

i. Plaintiff’s Complaint fails to state a claim for Breach of
Guaranty Against HASSAN ALAWIE.

67. lf one ignores the self-serving allegations in Plaintiff’ s Complaint and
considers the express terms of the Guaranty attached as its Exhibit “B,” it is clear that
Piaintit`f has not alleged a claim for breach of the Guaranty against HASSAN ALAWIE,
because the alleged debt at issue in this case allegedly belongs to WORLD MAGIC
GAl\/lES and not World l\/lagic Entertainnient. The Guaranty contradicts the allegations in

the Complaint that HASSAN ALAWIE guarantied the debt of the corporate Defendant

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68. 'l`he Eieventh C ircuit has made it clear that when a plaintiff attaches exhibits
to a complaint and the exhibits contradict the allegations of the complaint_. the exhibits
control. See Gr(fiin ladus., Inc. v. 1:'1>:'1/2,496_!'~`.3£1 l 189, 1205~06(1ltliCir.200'?). °‘LW]hen
the exhibits contradict the general and conclusory allegations of the pleading, the exhibits
govern.” Id,; see also Associated Bai'lc!ei's, Inc. n A[a. Power Co., 505 F.Zd 97, 100 (5th
Cir. 1974) (""Conclusory allegations and unwarranted deductions of fact are not admitted
as true, especially when such conclusions are contradicted by facts disclosed by a document
appended to the coinpiaint."").

69. i;lere, the Exhibit itself makes clear that the Guaranty is for the debts of non-
party World h/lagic Entertainment, not Defendant WORLD MAGIC GAMES. But the
breach alleged in Plaintiff’s complaint relates to the debt of WORI...D M`AGIC GAMES.
The Complaint accordingly fails to state a cause of action against HASSAN ALAWIE.

7{). “[T]he aim of Rule 60(b) [is] to allow a district court to grant relief when
its judgment rests upon a defective foundation.” Bush v. Raytheon Co., 2011 U.S. Dist.
LEXIS 40442, *7 (quoting,r Gonzalez v. Sec’yfor Dep’i‘ ofCorr., 366 F.3d 1253, 1291-92
(1 ith Cir. 2004)).

"/`1. Here, the personal liability of HASSAN ALAWIE rests upon just such a
“defective foundation”_namely, the Guaranty that does not apply to the debt of WORLD
MAGIC GAMES.

B. In the Alternative, the Final Judgment Should Be Set Aside for
Excusable Neglect.

72. In the event that the Court finds that the Final Judgment is improper because
it is contrary to Plaintiff’s Complaint., it nevertheless should be vacated for excusable

neglect Undersigned counsel and his secretary misunderstood the role oftheir firm in this

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action and were confused because of the firm`s “background” role in the prior California
Lawsuit.

73. A party seeking to set aside a either a clerk's default or a default judgment
must show thal: (1) it had a meritorious defense that might have effected the outcome; (2)
granting the motion would not resuit in prejudice to the non-defaulting party; and (3) a
good reason existed for failing to reply to the complaint See fn re Worldwide Web Sys.,
!iic., 328 F.Bd 1_291, 1295 (l ith Cir. 2003).

74. HASSAN ALAW 1E, undersigned counsel, and counsel"s secretary all state
under oath that they were not aware of the deadline to file a responsive pleading, the
Court’s Order to Show Cause, the Clerk’s Default, Plaintiff s Motion for Final Default
Judgment, or the Default Final Judgment itself until after the Default final Judgment was
entered

i. HASSAN ALAWIE has a meritorious defense.

75. Applying the test to these facts, the Court should first find that HASSAN
ALAWIE has a meritorious defense In assessing a defendant’s meritorious defense, “the
likelihood of success is not the measure [A defendant’s] allegations are meritorious if they
contain even a hint ofsuggestion, which, if proven at trial, would constitute a complete
defense.” Sobkowskz` v. Wyeth, 2004 U.S. Dist. LEXIS 28726 (M.D. Fla. 2004) (internal
quotation omitted and emphasis added).

?6. Here, as discussed above, HASSAN ALAWIE has a clear defense to
liability, because the Guaranty does not apply to the alleged debt of WORLD MAGIC
GAMES that is at issue in the case.

ii. Plaintiff will not be prejudiced.

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77. Second, Plaintiff Will not be prejudiced if the Final Default Judgment is
vacated any more than any plaintiff is when a judgment is set aside A “prejudice” that
Would militate against vacating the Final Default Judgment must be more than simply
having to litigate a claim upon the merits rather than Winning a $91 1,000 personal judgment
based upon a technicality. The fact that setting aside a default Would deprive Plaintiff from
a quick resolution to the case “is not [] the type of prej udice relevant to the Court’s inquiry,”
Sobkowski, 2004 U.S. Dist. LEXIS 28726, *2. “Rather the prejudice to be considered [] is
the effect of setting aside the default, if any, on Plaintiffs ability to prosecute the case on
the merits.” Id.; see Tyco Fire & Sec. v. Alcocer, 2009 U.S. Dist. LEXIS 27720, *8-9 (S.
D. Fla. 2009).

78. There is no such prejudice here This case Was in its initial phase When the
Court entered the Final Default Judgment, and there is no indication that Plaintiff has
changed its position in any Way since that time in reliance upon the existence of the
judgment Plaintiff has the same ability to prosecute this case on the merits that it had a
month ago before the entry of the Final Default Judgment.

79. On the other hand, the prejudice that the Final Default Judgment presents to
Defendant HASSAN ALAWIE is brutal, especially given that the Complaint makes clear
that Plaintiff is not entitled to the relief it seeks pursuant to the Guaranty.

iii. HASSAN ALAWIE had good and understandable reasons that
he failed to timely respond to PlaintifPs Complaint.

80. Finally, HASSAN ALAWIE has good reasons that he failed to reply to the
Complaint.
8 l. ln assessing good cause, the Court should consider Whether the default Was

the result of culpable or Willful conduct on the part of the defaulting party. Compani

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Interamericana Ex.-Imp., S.A. v. Compenio Domenicana De sz`act`on, 88 F. 3d 948J 951
(l lth Cir. 1996). The Eleventh Circuit has repeatedly acknowledged that most failures to
follow court orders are not Willful, as long as the defendant was not given ample
opportunity to comply and failed to do so. See id., 88 F. 3d at 952; Robinson v. U.S., 734
F. 2d 735, 739 (l lth Cir. l984); Katz v. MRT, LLC, 2008 U.S. Dist. LEXIS 45586, *3
(S.D.Fla. 2008); Alcocerq 2009 U.S. Dist. LEXIS 27720, "‘8-9.

82. The Supreme Court clarified what constitutes “excusable neglect” in the
context of Federal Rule of Civil Procedure 60(b) in Pioneer Investment Servz'ces Co. v.
Brunswick Associcztes er. Partnershtp, 507 U.S. 380 (1993). It held that “for purposes of
Rule 60(b), ‘excusable neglect’ is understood to encompass situations in which the failure
to comply with a filing deadline is attributable to negligence.” l'd. at 394. Whether to set
aside a judgment for excusable neglect is an equitable determination based upon “all
relevant circumstances surrounding the party’s omission.” Id.; see Cheney v. Anchor
Glass Container Corp., 71 F,3d 848 (l lth Cir. 1996). -

83. Here, the totality of the circumstances surrounding the failure of HASSAN
ALAWIE to plead in response to Plaintiffs Complaint militate in favor of vacating the
Final Default Judgment. HASSAN ALAWIE depended upon undersigned counsel
retained to handle the Florida lawsuit In turn, undersigned counsel depended upon his
secretary to monitor his emails, provide him with relevant ECF notices and filings, monitor
litigation deadlines, maintain undersigned counsel’s calendar, and e-flle documents in
federal litigation for undersigned counsel’s clients.

84. Ms. Tigges and undersigned counsel have provided sworn testimony

regarding their miscommunications and misunderstandings regarding their firm’s role in

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the Florida litigation, which at worst amount to exactly the form of negligence that Rule
60(b)(l) is designed to remedy. Undersigned counsel and his secretary have both
acknowledged their roles in the failure to respond, and further explained how the confusion
is understandable given that undersigned counsel was not the responsible attorney of record
in the previously-filed California Lawsuit involving the same parties and claims in a
different venue

85 . Undersigned counsel and his secretary have attested under oath that Ms.
Tigges failed to file the Motion to Dismiss that was prepared for HASSAN ALAWIE
because the papers were mistakenly assumed to be draft documents in the California
Litigation, rather than documents that undersigned counsel was requesting that his
secretary e-file in the instant litigation

86. Courts routinely grant motions to vacate for excusable neglect when the
defendant’s failure to respond to the Complaint is the result of honest mistakes, and clerical
and secretarial errors or omissions In Barber v_ Turberw'lle, 218 F.2d 34 (D.C. Cir. 1954),
the attorney claimed that “through oversight an answer was not filed ‘because the
complaint became mixed with another file.”’ Id. at 35. The court granted the motion to
set aside the final default judgment and found the confusion between the files was
excusable neglect Id. at 36. The Barber court focused on the conduct of the client, more
than the conduct of the attorney, reasoning that the defendant was not “personally
negligent” and that in such circumstances “courts have been reluctant to attribute to the

parties the errors of their legal representatives.” ]d. (citations omitted).

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87. .Here, it is clear that iiASSAN A.LAWIE has not personally made an error
of any sort. if there was any excusable neglect, it was on the part of undersigned counsel
and his secretary

88. Finally, Defendant has acted expeditiously after learning of the Default
Final Judgmentl Undersigned counsel first became aware of the Final Default Judgment
on October 8, 2016, and brought it to the attention of HASSAN ALAWIE. Defendant
sought the advice of counsel and investigated how the Final Default Judgment could have
been entered against him, and now moves quickly to vacate it.

89. For the foregoing reasons, if the Court rules that the Final Default Judgment
shall not be vacated because Plaintiff's Complaint fails to state a claim against him, it
should alternatively be set aside as a product of excusable neglect under Rule 60(b)(l).
The claim against HASSAN ALAWIE should be determined on its merits.

C. Again in the Alternative, the Final Judgment Should Be Set Aside
Pursuant to F ederal Rule of Civil Procedure 60(b)(6).

90. .ln the event that the Court finds that the Final Default Judgment is not
improper because it contradicts the Complaint, and the Court finds that the Default Final
Judgment should not be vacated for excusable neglect_, it nevertheless should be set aside
pursuant to Rule 60(b)(6) in the interests of justice

91. Rule 60(b)(6) “is a broadly drafted umbrella provision which has been
described as a grand reservoir of equitable power to do justice in a particular case when
relief is not warranted by the preceding clauses [in Rule 60(b)].” Grg'fj‘?n v. Swz'm~Tech
Co;p_, 722 F.2d 6?7, 680 (ltth Cir. 1984) (1citations omitted). Vacating a judgment under

Rule 60(b)(_6) is appropriate upon a showing of“exceptional circuinstances.” let The party

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seeking to vacate the judgment under this rule must show that “absent such reiief, an
“extreme’ and ‘unexpected’ hardship will result.” Id. (citations omitted).

92. lelere, "‘except:ional circumstances” warrant vacating the Default Final
Judgment Through absolutely no fault of his own, HASSAN ALAWIE finds himself
liable to l’laintiff for $F)l l,000 dollars due to a contractual guaranty that has no application
to the alleged debt. Aj udgment of nearly a million dollars is certain an “extreme” hardship
And a judgment based upon a Guaranty for a completely different company is also
completely "‘unexpected .”

93. It would be a miscarriage of justice to allow the Final Judgment to stand
without resolving the dispute according to its merits.

II. CONCLUSI()N

WHEREFORE, Defendant requests this Court grant HASSAN ALAWIE’s Motion

and enter an Order Vacating the Default Final Judgment against him, and ordering that he

file a response to the Complaint, and for all other relief to which he may be entitled

nmIFIC_M
STATE OF FLORIDA
COUNTY OF l\/IIAMI~DADE
I, the undersigned, do hereby swear that l am HASSAN ALAWIE, and that each

and every fact contained in the preceding motion is true and correct to the best of my direct

knowledge and belief, and that l am a competent adult.

 

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HASSAN ALAWIE

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NOTARIZATION

The foregoing instrument was sworn to and acknowledged before me this @ day

of ngzzl; g ,- , 2016 by HASSAN ALAWIE, who is personally know to me or Who

W______________.._
produced as identification, and who did
m_ or did not _»'_/t'ake an oath, and who executed the foregoing, and who acknowledged
the foregoing to be freely and voluntarily made

[snAL on srAMP]

 

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Respectfully Submitted,

Law Offices of Kevin D. Dennis, LLC

Attorney for the Defendant
45 Almeria Avenue

Coral Gables, Florida 33134
(305) 577-0311

(305) 577-0321

h »/,é/yQ/J'\DW ;W'/zz/'“_'\_
KEVIN D. DENNIS, ESQUIRE

Florida Bar # 075 6431
kevin@dennislegal.com

CERTIFICATION
l HEREBY CERTIFY that a true and correct copy of the foregoing was sent to

Etan Mark, Esquire, emark@bergersingerman.com
Colleen Maranges, Esquire, cmaranges@bergersingerman.com

 

rhisile) day Of Q€/'§` \>v ,20_(§.

Kevin D. Dennis, Esquire

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Attorncys for Plaintiff
SO§,U'l`lONS 2 GO, LLC

 

 

 

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8 SUPE.R`§OR COURT OF- THH STA'?`_§; Oi~"- CALIFORN§A
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11 iz'le'iintifl"5 COM.PLAIN’I` F()R:
12 vs ` (n sunnen or c-oN'rnAe'r;
{z} sunnen or GUARANTY; )
13 WORLD ivtAGlC GAM_ELS, l,l,C; l“lASSAN {3} UNJUST ENRICHMENT;
ALAWIE; and §)C)ISS i~20, {4} ACC()U`NT STATED; and
l4 (5) OPEN B()()K ACC()UNT
Defendant
15
16
17 l>laintil"t`Solutions 2 Go, LLC (“Solutions”) alleges the following
18 "I`HE PARTIES
l 9 i. Solutions is now, and at all relevant times herein mentioned was, a limited liability

20 company duly organized and in good standing under the laws ofthe State of California Solutions
21 is authorized to do business in California and maintains its principal place of business in Orange
22 County, California

23 2. So`lutions is informed and believes and based thereon alleges that defendant World
24 Magic Garnes, i...LC {“`Wcrld ivi.agic”) is a Florida limited liability company that is subject to

25 jurisdiction in California because among other reasons, it regularly transacts substantial,

26 continuous and systematic business in California and regularly advertises to and does business

27 with consumers and other companies in California

28 3. Solutions is informed and believes and based thereon alleges that defendant Hassan

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EXHIBIT “A”

 

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Alowie ("‘Alawie”} is o resident of Piorido Who is subject to jurisdiction ira California bece.use,
among other reasoos, he regularly transacts substantial, continuous and systematic business in
California and regularly advertises to and does business With consumers and other companies in
t'_`felit`oroial

4. The true names and capacities whether individual, corporate associate or
otherwise of Does l through 20, inclusivej are unknown to Soiutions, Who therefore sues said
defendants by such fictitious names So.lutions Will. amend this Compieint to show the true names
and capacities of Does l through 20, incitisive, When they have been ascertained Solutions is
informed end believes end based thereon ciieg,es that each oi` the fictitioust named defendants
Does t through 29 participated in and arc ira some manner responsible t`or the acts alleged iii this
Complaint end the damage resulting therefrom Solctions is informed and bciiev'es and thereon
alleges that Does l through 20 reside in this judicial district endfor inc subject to jurisdiction as it
rotates to this dispute Worid Megic, Alawie} and Does i through 20 are hereinafter coilectiveiy
referred to as “Dei`endents.”

5. Soiiitioos is informed end helicch and based thereon alleges that et oil relevant
times the `l)et`cndents, unless otherwise alleged were acting as the alter egos, agents, servants
cmployees, successors or §Jrecleeessors-ln~~iioterestg ot' each other, and were acting within the course
and scope o'l:' such relationship, with the knowledge, express or impiied, ot` each such other named
Defendant

fit `Vcitue is proper in Crange Cottnty, Caliiornic because l)ei`endnnts’ payment
obligations referred to herein Were to be performed at Solc.tions’ principal place of business
located in Orcnge C.ounty, Califoi‘oia.

UPE.RATIV`E FAC'TS

?. Soiutioos is o distributor ot`video gaines and related products, and World Megic is
a Wholcscler and rcsc_llcr civich games and related products

3. fn fell 2015, Worid Ma§;ic ordered video game consoles and accessories from
Solutions for a total of $93.1,?4& ’l`rue end correct copies of the invoices memorializing these

orders erc attached hereto as Exhibit A. Solutions delivered the goods2 and World i\/.Iagic accepted

 

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visitors insisting COMPLAINT

 

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the goods.

9. Ai"ter moking one payment of $20,000, Worid Magic thereafter failed and ro§used
to make any further payments on these invoices, despite Solutioo.s’ requests. As such, World
Magic`owes Soiutions a totoi ot` $91 1,7€3(), pitts interest

i(). filawie, 21 principal of Worid Magic, signed a “§Pci'sonal Guaranty,” in Which he
agreed to “tmooriditional|.y guaranto€:[] the payment ofzmy and all” deth owed from Worid Magic
to Soiutiot.zz;. To date, and despite Soiutions’ roquests, A`iawi€ has failed and refused to pay
Soiutions any of the 391 1340 owed by Wotld .Magic.

FIRST CAUSE (}F ACTIGN
(For Brezzc§l of Contract Against World Magic
and .Does 1 Tha'ongh 10, inciusivc)

l l. Solotions roaliogos and hereby incorporates by reference paragraphs 1 through 10
above, inclusive

E2. Soiutions and Woi‘ld Magio are parties to an agreement that Was ;:)art Written and
part oral wherein Wor}d Magic bought video game consoles and accessories from Solutt`ons in
exchange for a promise to pay Solutions for those products.

i 3. Soiutions performed ali terms and conditions requiz'od of it under the agreement

14. Worid M.;agio breached the parties’ agreement by faifing to pay So}utions $9`11,’?'40
pitts interest owed on the invoices attached as Exhibit A.

15. AS a direct result oi" World .i\/Iagio’$ breach Sofutions was damagod in excess of
$9¥ 1,740 pins prejudgment interest

SEC()NB CAUSE G.F ACT¥`I()N
(Fs)r Broach of Guaranty Aga;inst Alawie
and .Does 16 Through 20, inclusive)

16. Soiutions zealleges and hereby incorporates by reference paragraphs 1 through 15
abovo, inclusive

17. Aiziwio executed the Persooal Guaranty in favor o:t` Solution.s.

18. Soiutions perfomit:d tdi terms and Conditions required of it under the P¢rst)nai

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Guaranty.

19. Alawit: breached the parties’ agreement by failing to pay for Worlci Magic’$ debt of
391 § ,740 plus interest owed on the invoices attacheci as Exhibit .A.

20. As a direct result of Alawie’s breach of the Persorial Guaranty_, Soiutlons Was
damaged iri excess oi" $9`] 1340 plus prejudgment interest

T'HI.R`B C$US‘E OF ACTION
(For Unjust Enrichment Against Ai.l Defendants
and Does l '.I`h.rough Zl}, inclusivo)

21 . Soi'utions retiilegos and hereby incorporates by reference paragraphs .l through 20
abovo, inclusiv€.

22. By virtue of it$ wrongful acts and breaches of t:=t:~ntrr-ic:ta Defendants, and each of
th_o_m, reoe:ivoc§ a substantial benefit from the video game oonsoi_os and accessories Soiutions sold
to them for Which Solutions has not been paid.

23_ Rctetttion of those benefits by Det`ondants, and each ot`titem, -would be unjust for
tito reasons Stated herein

24. As a. direct and proximate result of Det`endants’ Wi.'oiigfui actions and breaches of
contract eis alleged heroin, Defendants have been zmj ustle enriched in an amount to Con;t`omi to
proof at trial

FUURTH CAUSE OF ACTION
(For Account Statet§
Against Ai} Defendants and fines § Through 2{), inclusive)

25. Solutions realleges and hereby incorporates by reference paragraphs l through 24
above-, inoiusive.

26. Sofutio.n.s and Wo:'iti Magic (and its principal Alaw‘ie) had a Serios of business
transactions whereby Wotld Magic purchased products from Solutions.

?_?. Sol'utions kept am account of the debits and Crodits related to the oansaotions.

28. Dot`onciants‘, by their words and co.nduct, including by accepting Soii'xtio"ns*

prodt;ots, agreed that they owo, and promised to payz $91§,740 plus prejudgment interest

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29. Dcfcndants have not paid Sciutions the amount owed under this account To date,
Defendants owe Solutions $9E 1,740 plus prc]'u<igmon.t interest
FIFTH CAHSE OF ACTI()N
(For Open .Book A.cccun£
Against AIE Defendants and I}oes ]_ Through Z{), inclusive)
30. Solotions .reajlegos and hereby incorporates by reference paragraphs l through 29
abovo, inclusive~
31. So.iutions and World Mag,ic (and its principal Alawic) had a series of busincss
transactions whereby Wo':*ld Magic purchased products from Solution$,
32. Solutions kept ao account of the debits and credits related to thc transactions.
Aocording, to this ztccotuttz lf)et`e.ndaats owe Scl'utions 3911,?4{} plus prejudgment interest
!’RAYER F{}R RELIEF
WHBRHF{}RB, Sol'otions prays for judgment against Defendants, as fol§ows:
1, P`or damages in on amount to be established according to proof at trial in an amount

ci` at Eeast SQI 1,'/'4€);

2. `l`~`or disgorgement and restitution;
3. `For prejudgment interest at the maximum rate ailow'ab§c by applica§)lc lam
fix For attot‘ncys’ fees if and to the extent permitted by applicabfc law;
5. For costs of Suit incurred hct'eln; and
6. For such other and further relict`as the Court deems just and propcr,
munoz my 3, 2016 R.oTAN &. TUCL<ER, LLP

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Exhibit A, Page 6

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Exhibit A, Page 7

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Exhibit A, Page 8

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Exhibit A, Page 9

lC<'J\Se 1:16-cV-22967-UU Document 20 Entered on FLSD Docket 10/21/2016 Page 33 of 55

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Exhibit A, Page 10

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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FL()RIDA

soLUrIoNs 2 oo, LLC,

Plaintit"f, CiVIL DIVISION
V.

Case No. 2016-cv-22967-UU
WORLD MAGIC GAMES, LLC,

HASSAN ALAWIE,

Defendantsl

 

AFFIDAVIT OF KEVIN D. DENNIS. ESOUIRE
STATE OF FLORIDA )
) ss

COUNTY OF MIAMI-DADE )

BEFORE ME, the undersigned authority, did personally appear Kevin D. Dennis,
who, first being duly sworn, deposes and states:

l . My name is Kevin D. Dennis, and I am over the age of 18 and have personal
knowledge of all of the matters contained herein.

2. In i\/Iay 2016, the Plaintiff herein filed a separate Civil Complaint in the
Superior Court of Orange County, California, against the Defendants herein (the
“California Complaint,” Which initiated the “California Lawsuit”).

3. Plaintiff alleged that Defendant, WORLD MAGIC GAMES, LLC
(hereinafter “WORLD MAGIC GAMES”) breached a contract, and that HASSAN
ALAWIE then breached a guaranty securing payment of WORLD MAGIC GAMES’ debt.

4. l am not a member of the California bar, and accordingly Was not the
counsel of record for Defendants in the California Lawsuit. My office Was not responsible

for any filings in the California Lawsuit.

l

EXHIBIT “B”

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5. However, l Was instrumental in retaining California counsel for the
Defendants and Was heavily involved in the legal and factual discussions (of improper
Venue and personal jurisdiction as to WORLD MAGIC GAl\/IES, and improper venue,
personal jurisdiction, and failure of guaranty as to HASSAN ALAWIE) With California
counsel.

6. ln fact, many of the legal arguments raised in the California Lawsuit Were
based upon the legal research and factual defenses prepared by me, Which Were then
communicated to the California counsel of record for Defendants.

7. During the pendency of the California Lawsuit, my secretary, Ms. Tigges
Was instructed that the undersigned’s office Was not the primary firm handling the out-of-
state litigation l\/ls. Tigges Was instructed that l Was merely monitoring the California
Lawsuit and providing advice to local counsel for the Defendants in Califomia.

8. l\/ls. Tigges Was instructed that her only responsibilities With respect to the
California Lawsuit Were to file my emails, filings, and papers related to the case. Because
the matter Was being handled by California counsel, l\/Is. Tigges Was not obligated to
monitor deadlines related to the case or place them on my calendar, because this Was being

handled by Defendants’ attorneys in California

9. The California Lawsuit ultimately resulted in the dismissal and the filing of
the instant action in Florida.

lO. This instant action is nearly identical to the California Lawsuit and is against

the same Defendants

Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docket 10/21/2016 Page 36 of 55

ll. As part of her job responsibilities, Ms. Tigges is responsible for (a)
organizing my email communications (filing emails and bringing significant
communications to my direct attention); and (b) maintaining my calendar.

12. l reasonably relied upon l\/ls. Tigges in this manner to ensure that all
important matters and communications are brought to my attention and are reflected on my
calendar.

13. All of the ECF notices that have been served upon me by this Court in this
case were reviewed, sorted, and filed by Ms. Tigges.

14. After appearing in this action, l did not see any ECF notices or the filings
because my secretary filed them.

15. l\/ls. Tigges maintains my calendar and places deadlines on it when l am
counsel of record or the primary attorney responsible for handling a case.

16. l\/ls. Tigges did not understand that the California Lawsuit Was eventually
dismissed and a new action Was filed in Florida.

17. l vvas retained by Defendants to represent them in this Florida lawsuit. On
August 8, 2016 undersigned counsel filed a Notice of Appearance and a Motion for
Enlargement of Tirne to respond to Plaintiff’s Complaint in this case.

18. l sought a twenty (20) day enlargement of time to respond to Plaintiff’s
Complaint in the Florida case.

19. The following day, the Court granted Defendants a brief enlargement of
time_through August 12, 2016_to plead in response to the Florida Complaint. The Court

granted Defendants four (4) of the twenty (20) days that were requested

Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docket 10/21/2016 Page 37 of 55

pending in Florida, and that accordingly she would need to e-file documents in the case.
l\/ls. Tigges did not understand the significance of the ECF notices and filings that
undersigned counsel received after appearing in this action. l\/ly secretary did not
understand that it was her responsibility to ensure that all deadlines in this case were
properly placed on my calendar.

28. On August l7, 2016, the Court entered an Order to Show Cause requiring
that Defendants show cause Why they should not be held in default for failing to plead in
response to Plaintiff"s Complaint by the deadline established in the Order Granting
Enlargement.

29. Neither HASSAN ALAWIE nor l Was aware that the Order to Show Cause
had been entered at that time, and only discovered and reviewed the foregoing after
learning of the existence of the Default Final Judgment

30. l\/ls. Tigges filed the ECF notice and the Order to Show Cause in the internal
office filing system, and l never saw them.

31. On August 22, 2016, the Plaintiff filed its l\/lotion for Default Final
Judgment

32. Neither HASSAN ALAWIE nor I Was aware that Plaintiff had filed its
l\/lotion for Default Final Judgment at that time, and only discovered and reviewed the
foregoing after learning of the existence of the Default Final Judgment.

33. Ms. Tigges filed the ECF notice and the l\/Iotion for Default Final lludgment
in the internal office filing system, and undersigned counsel never saw them.

34. The next day, on August 23, 2016, the Clerk entered a Default against

Defendants

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35. Neither HASSAN ALAWIE nor l was aware that the Default had been
entered at that time, and only discovered and reviewed the foregoing after learning of the
existence ofthe Default Final Judgment.

36. On August 25, 2016, the Court entered an Order on Motion for Final Default
Judgment and a Default Final Judgment against Defendants

37. Neither Defendant HASSAN ALAWIE nor l were aware that the Default
Final Judgment had been entered at that time, and only discovered and reviewed the
foregoing after receiving a UPS package with a hard copy of the discovery in aid of
execution (on or about October 8, 2016), learning of its existence

38. Ms. Tigges filed the ECF notices, the Order on Motion for Final Default
Judgment, and the Default Final Judgment in the internal office filing system, and l never
saw them.

39. The Default Final Judgment provides that Defendant WORLD MAGIC
GAMES, LLC and its purported “guarantor” Defendant HASSAN ALAWIE are jointly
and severally liable to Plaintiff for the significant sum of $91 1,000.00. l

40. Neither Defendants nor l exhibited any bad faith in their failure to plead in
response to Plaintiff` s Complaint. Unfortunately, due to communication problems and
simple misunderstandings, Defendants missed the pleading deadline

41. My secretaryenot fully understanding that a new Florida action involving
the same parties had commenced-believed the same course of conduct applied to papers
related to the Florida case as to those related the previous Califomia Lawsuit, i.e., that my
office Would be assisting a dijferem counsel of record but not filing actual pleadings l\/ls.

Tigges believed that her only duties in the case were administrativeeto collect and file

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entail correspondence She did not know that she also needed to monitor deadlines and
ensure that the responsive pleadings were e-filed.

42. My secretary’s misunderstanding and the Defendants’ failures to plead in
response to the Complaint was due to mistake, inadvertence, and excusable neglect, in light

of the California action involving the same claims and the same parties

VERIFICATION
STATE OF FLORlDA
COUNTY OF l\/[lAMI-DADE
l, the undersigned, do hereby swear that I am KEVIN D. DENNIS, and that each

and every fact contained in the preceding motion is true and correct to the best of my direct

knowledge and belief, and that l ann a competent adult.

KEVIN D. DENNIS

NOTARIZATION

The foregoing instrument was sworn to and acknowledged before me this al day

er ronald if , 2016 by riser D. DeNNis, who is pet § . 0 me sr Who

_________________,¢

produced as identification, and who did

 

j or did not _ take an oath, and who executed the foregoing, and who acknowledged

the foregoing to be freely and voluntarily made.

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Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docket 10/21/2016 Page 40 of 55

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA

SOLUTIONS 2 GO, LLC, )
)
Plaintiff, ) CIVIL DIVISION
v. )
) Case No. 2016-cv-22967-UU
WORLD l\/IAGIC GAMES, LLC, )
HASSAN ALAWIE, )
)
Defendants )
)
)

 

AFFIDAVIT OF CHRISTINA TIGGES

STATE OF FLORIDA )
)
COUNTY OF MIAMI-DADE )

SS

BEFORE ME, the undersigned authority, did personally appear Christina Tigges,
who, first being duly sworn, deposes and states:

l. My name is Christina Tigges, and I arn over the age of 18 and have personal
knowledge of all of the matters contained hereinl

2. In l\/lay 2016, the Plaintiff herein filed a Civil Complaint in the Superior
Court of Orange County, California, against the Defendants herein (the “Calif`ornia
Complaint,” which initiated the “California Lawsuit”).

3. During the pendency of the California Lawsuit, as legal secretary, I was
instructed that our office was not the primary firm handling the out-of-state litigation I
was instructed that I was merely monitoring the California Lawsuit.

4. I was instructed that my responsibilities with respect to the California
Lawsuit were to internally file my emails, filings, and papers related to the case. Because

the matter was being handled by California counsel, l was not obligated to monitor

l

EXHIBIT “C”

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deadlines related to the case or place them on my calendar, because this was being handled

by Defendants’ attorneys in Califomia.

5. l did not realize that the California Lawsuit ultimately resulted in the
dismissal and the filing of the instant action in Florida.

6. To me, the case in Florida action was the same case as the California
Lawsuit as it involved the same parties and facts.

7. As part of my job responsibilities, l am responsible for (a) organizing the
office email communications (filing emails and bringing significant communications to my
direct attention); and (b) maintaining the office calendar.

S. All of the ECF notices that have been served upon the office by this Court
in this case were reviewed, sorted, and internally filed by me.

9. I did not understand that the California Lawsuit was eventually dismissed
and a new action was filed in Florida.

lO. l know l\/lr. Dennis prepared a draft Motion to Dismiss based upon l)
improper venue and jurisdiction of both Defendants and 2) the failure of Plaintiff to state a
claim against HAS SAN ALAWIE due to the Guaranty_which guaranties the debts of non-
party World l\/lagic Entertainment rather than the debts of WORLD MAGIC GAl\/IES.

ll. Additionally, he prepared an Answer for WORLD MAGIC GAMES.

l2. The pleadings were placed on my desk by l\/ir. Dennis to be e-filed with the
court, however, l was under the mistaken belief that I was to continue to monitor ECF

notices and deadlines but not file any papers

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13. l filed the draft Motion to Dismiss and Answer in the internal file
maintained for the Defendants’ dispute, rather than e-filing them in this action. The
documents were never e-filed.

14. This unfortunate situation was the result of a misunderstanding between me
and Mr. Dennis; I did not recognize that our office was the primary attorney in charge of
this case pending in Florida, and that accordingly l would need to e-file documents in the
case.

15. lt appears that, on August 17, 2016, the Court entered an Order to Show
Cause requiring that Defendants show cause why they should not be held in default for
failing to plead in response to Plaintiff` s Complaint by the deadline established in the Order
Granting Enlargement.

16. l filed the ECF notice and the Order to Show Cause in the internal office
filing system and Mr. Dennis never saw them.

17. lt appears, on August 22, 2016, the Plaintiff filed its Motion for Default
Final Judgment

18. l filed the ECF notice and the Motion for Default Final Judgment in the
internal office filing system, and Mr. Dennis never saw them.

19. The next day, on August 23, 2016, the Clerk entered a Default against
Defendants

20. Neither HASSAN ALAWIE nor Mr. Dennis was aware that the Default had
been entered at that time.

21 . On August 25, 2016, the Court entered an Order on Motion for Final Default

Judgment and a Default Final Judgment against Defendantsl

Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docket 10/21/2016 Page 43 of 55

22. Neither Defendant HAS SAN ALAWIE nor Mr. Dennis were aware that the
Default Final Judgment had been entered at that time, and only discovered and reviewed
the foregoing after receiving a certified UPS mail containing the hard copy of the Plaintiff" s
discovery in aid of execution which was received on or about October 8, 2016.

23. The Default Final Judgment provides that Defendant WORLD MAGIC
GAl\/IES, LLC and its purported “guarantor” Defendant HASSAN ALAWIE are jointly
and severally liable to Plaintiff for the significant sum of $91 l ,000.00.

24. Neither Defendant, Mr. Dennis nor l exhibited any bad faith in the failure
to plead in response to Plaintiff"s Complaint. Unfortunately, due to communication
problems and simple misunderstandings, Defendants missed the pleading deadline

25. l\/ly misunderstanding and the Defendants’ failures to e-file responses to the
Complaint was due to mistake, inadvertence, and excusable neglect, in light of the
California action involving the same claims and the same parties.

VERIFICATION
STATE OF FLORlDA
COUNTY OF MlAMl-DADE

I, the undersigned, do hereby swear that l am Christina Tigges, and that each and
every fact contained in the preceding motion is true and correct to the best of my direct

knowledge and belief, and that l arn a competent adult.

%;7/_¢/¢.- in ci q._fj

Christina figgesf

Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docket 10/21/2016 Page 44 of 55

NOTARIZATION

The foregoing instrument was sworn to and acknowledged before me this g day

of@gt-b§ j g , 2016 by Christina Tigges, who is personally know t§) me or who

produced as identification, and who did

 

* or did not !:' take an oath, and who executed the foregoing, and who acknowledged

the foregoing to be freely and voluntarily made.

    

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5 * MYCOMMISS|ON#FF 9929_25
3 § EXP|RES:May 16.2020
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Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docl<et 10/21/2016 Page 45 of 55
civ-itc

 

ATTORNEY OR FARTV W|THOUT ATTGRNEV (Name, State Bar number, and address,|.

Richard K. l~iowel| (SBN 144241)/Proud Usahacharoenporn (SBN 278204) FOR COURTUSE ONL"
Rutan & `l'uci<er, LtP
611 Anton Bivd., Suite 1400
Costa l\flesa, CA 92626
TELEPHONE NO: (714) 641»5100 mt No_ runway (714) 546~9035
E¢MA|L ADDRESS (Opiione.l): pugaha@rutan_gom
ArrGRNEYrORrNsme): Plaintiff Soiutions 2 Go, LLC
SUPERloR COURT ol= cALiFoRNlA, CouNTY oF Orange
STREET ADDRESS: 700 Civic Center Dr. West
|\rlA|LlNG ADDRESS:
cer AND zlP cone Sama yfl\n@ll CA
snANcH NAME~ Centra|

PLA|NTIFF/PETITloNER: So|utions 2 Go, LLC
oEFsNoANTrnEsPoNoENT: Worid l\/lagic Games, LLC et a|.

 

 

 

REQUEST FOR-D|SM|SSA|_ cAsE NuMssr<;30-2016-00850285~@1.|-|3€~
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A conformed copy Wi|| not be returned by the clerk unless a method of return is provided with the documentl

 

 

 

This form may not be used for dismissal ct a derivative action or a class action or ci any party or cause erection in a
class action. (Cai. Ru|es of Court, rules 3.'!60 and 3.770.)

1. TO THE CLERK: Please dismiss this action as foilows:

 

 

 

a. (1) E vvith prejudice (2) vvithoutpre;udice

s m complaint (2) l:l Petition
(3) l:l Cross-compiainiil|ed by (name)'. on (date):
(4) I___i Cross-compteiniti|ed by (name): on (daie):
(5) i:l Entire action of a|| parties and all causes of action
(6} [| other(specrry);*

2. (Cornplete in ali cases except family law cases.)
The court I:I did § did not waive court fees and costs for a party in this oase. (This information may be obtained from
the clerk. if court fees and costs Were Waived, the declaration on the back of this form must be compieted).

Date: duhe 24, 2016

 

 

Proud Usahacharoenporn §
rrYPE on PRiNT NAME oi-' M'roRNEY l:l raer wirnour Arronr\lsv) lEiGNATURE)

*lf dismissal requested is oi specihed parties only of specified causes of action Atiomey Or party W'mout attorney for

on|y, or of specified cross-complaints enly, so state and identity the partles, Y 4 ' ' 4
causes o\‘ action` or cross~complalnts to ne dismissed Pia|m|fflpe!`tmner E| DefendanUReSpondent
i:l Cross-Cornpiainani

TO THE CLERK: Consent to the above dismissal is hereby given.“*

 

 

 

Date:
tTYPE on PR¢NT NAME ci= i:l ArroRNEY E PARTY WlTHouT ATTORNEY) iSiGNATUREi
*” if a cross-complaint - or Response (Farni|y Law) seeking affirmative AllOi'ri€y Or party Wi‘iltOLit allOl'riey fOl'I
relief - is on Flle, the attorney for cross-complainant (respondent) must . . . .
sign)this consent it required by Code of Civii Procedure section 581 (i) [l Plalmlmpetitioner i:| Defendant/Re$pondem
or U' ,

i:l Cross-Cornp|alnant

 

(To be completed by clerk)
4. I:i Dismissal entered as requested on (o'ate):

5 [:[ Dismissa| entered oh (daie): as to only (neme):

6. i:i Dismissa| not entered as requested forthe following reasons (specii'y,i:

 

 

7. a. l:l Attorney or party Without attorney notified on (o'ate):
b. I:] Attorney or party Without attorney not notifiedl Filing party failed to provide
m a copy to be conformed El means to return conformed copy

Date: C|erk, by , Deputy
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PLA|NT|FF/PETiTiONER: S_o|utions 2 Go` Li_C

crisis NuivieER;
oeFENoANT/RESPONDENT: Worid iviagic Games, Li_C et al. F 30'2015'00359235-CU'BC'CJC

 

 

 

 

COURT‘S RECOVERY OF WAWED COURT FEES AND COSTS

|f a party whose court fees and costs were initially waived has recovered or will recover $10,000 or
more in vaiue by Way of settlementl compromisel arbitration awardl mediation settlementl or other

means, the court has a statutory lien on that recovery The court may refuse to dismiss the case until
the lien is satisfied (Go\r. Code, § 68637.)

 

 

 

Deciaration Concerning Waived Court Fees

1. The court waived court fees and costs in this action for (name):

2. The person named in item 1 is (checi< one below,|:
a_ i:l not recovering anything of value by this action.
b. E recovering less than 310,000 in value by this action

c. ll recovering $10,000 or more in value by this actioh. (/fitern 20 is checked item 3 must be compietad.)

3. l:l Al| court fees and court costs that were waived in this action have been paid to the court (check one).' [:l Yes

 

 

 

I:I No
| deciare under penalty of perjury under the iaws of the State of California that the information above is true and correct
Date:
irYPE on PRiNT NriiviE or l:l ArroaNEv l:l FARTY MAi<iNc oEcLARATioN) (S'GNAT'-'RE)
ClV-'tD [Rev` Jariuary 1` 2013] _ REQUEST FOR DlSNHSSAL Page 2 0!2

 

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PROOF 919 SERVICE

(Solutz`orts 2 Go, LLC v. Worla'Magic Games, LLC
Case No. 30-2016-008.50285-CU-BC-C`JC)

S'H`ATE @F CALEFORNIA, COL`NTY O§i` ORANGIE

l am employed by the law office of Rutan & Tucl<;er, LLP in thc County of Orange, State
of California 1 am over the age of 18 and not a patty tc the Within action. l_\/l_y business address is
611 Anton Boulevard.. Suite 1400, Costa l\/Iesa, California 92626~1931. My electronic notification
address is lfenwick@rutan.com.

On June 27, 2016, l served on the interested parties in said action the Within: REQUES"E` _
EOR DISMISSAL as stated below:

Aiex Conti Attorneys for Defendants
Conti Law WORLD MAGIC GAMES, LLC and
23 Corporate Plaza, Suite 150 HASSAN ALAWIE

Newport Beach, CA 92660

Tel: 949.?91.8555

Fax: 949.791.8556

Email: aconti@conti-law.com
binancillas@conti-law.com

(BY MAIL) by placing a true copy thereof in sealed envelope(s) addressed as shown on
the attached mailing list.

111 the course of my employment With Rutan & Tueker, LLP, 1 have, through first-hand
personal observation, become readily familiar with Rutan & Tticker, LLP’s practice of collection
and processing correspondence for mailing with the United States Postal Service. Under that
practice, 1 deposited such envelope(s) in an out-box for collection by other personnel of Rutan &
Tucker, LLP, and for ultimate posting and placement with the U.S. Postal Service on that same
day in the ordinary course of business It`the customary business practices of Rutan & Tuclcer,
LliP With regard to collection and processing of correspondence and mailing Were followed, and l
am confident that they Were, such envelope(s) Were posted and placed in the Um`ted States mail at
Costa Mesa, California, that same date. l am aware that on motion of party served, service is
presumed invalid if postal cancellation date or postage meter date is more than one day after date
ot` deposit for mailing in affidavit

(BY E-MAIL} by transmitting a true copy ot` the foregoing document(s) to the e-mail
addresses set forth on the attached mailing list.

Executed on iune 27, 2016: at Costa Mesa, California

1 declare under penalty of perjury under the laws of the State of Califomia that the
foregoing is true and correct

xi \ _} y
Laura Fenwick f_./ y. -
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('l`ype or rint name) ii \=rgi“gng’{ure)
p 'i. jbl

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Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docl<et 10/21/2016 Page 48 of 55

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA

SOLUTIONS 2 GO, LLC, )
)
Plaintiff, ) ClVlL DlVlSION
v. )
) Case No. 2016-cv-22967-UU
WORLD l\/IAGIC GAMES, LLC, )
HASSAN ALAWIE, )
)
Defendantsl )
)
)

 

DEFENDANT’S. HASSAN ALAWIE MOTION TO DISMISS
COMES NOW, the Defendant, HASSAN ALAWIE (hereinafter “Defendant”) by
and through undersigned counsel, and tiles this Motion Dismiss Plaintifi’s Complaint
(“Cornplaint”) With prejudice and for the imposition of fees and costs, and in support
thereof states as follows:
FACTUAL ALLEGATIONS OF THE COMPLAINT
l. Plaintiff”s Complaint claims damages against the Defendant, Hassan
Alawie, for an alleged Breach of Guaranty, for debts due and owing by Defendant,
WORLD MAGIC GAMES, LLC.
2. More specifically the Complaint states:
As an inducement for Solutions to Sell these video games Consoles and
accessories to World Magic on Credit, Alawie, a principle of World Magic,
signed a “Personal Guaranty,” in Which he agreed to “unconditionally
guarantee” the payment of any and all debts owed from World l.\/Iagic to
Solutions.
LEGAL ARGUEl\/IENT

3. The courts “are bound for the purposes of this review to take the Well-

pleaded factual allegations in the complaint as true. Mi`r'ee v. DeKal!) Couatv, 433 U.S.

 

EXHIBIT “E”

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251 97 S.Ct. 2490. 53 L.Ed.2d 557 (1977); Kziglcr v. Helfanr. 421 U.S. 1171 95 S.Ct.
1524144 L.Ed.2cl 15 119751' Schener v_ Rhoales, 416 U.S. 2321 94 S.Ct. 16831 40 L.Ed.2d
90 (1974); Cruz v. Bero, 405 U.S. 3191 92 S.Ct. 10791 31 L.Ed.Zd 263 (1972); Garalner v.
To.i{ei Goc)ds A.s'sn., 387 U.S. 1671 87 S.Ct. 1526. 18 L.Ed.2d 704 (1957). Construing
these facts and relevant facts obtained from the public record in the light most favorable
to the petitioners1 we must ascertain whether they state a claim on which relief could be
granted B.H. Papasan, v. Alloi`n, 478 U.S. 2651 283, 106 S.Ct. 2932, 2942, 92 L.Ed.2d
209 (1986).

41 “Federal Rule of Civil Procedure 12{1))(6) allows a complaint to be

 

dismissed for failure to state a claim on which relief can be granted When reviewing a
motion to dismiss, courtsmust limit their consideration to the well-pleaded allegations,
documents central to or referred to in the complaint, and matters judicially noticed See
.La Grcr.s'tcz v. Fir‘si Um'on Securz'r‘r'es, lnc.1 358 F.3d 840. 845 (1lth Cir. 2004) (internal
citations omitted); Dcn) v. Tavlor, 400 F.3d 12721 i276 ( 1 ith Cir. 2005). Furthermore,
they must accept all factual allegations contained in the complaint as true, and view the
facts in a light most favorable to the plaintiffl See Err'ckson v. Pordns_ 551 U.S. 891 93-
94. 127 S. Ct. 21971 167 L.Ed. 2d 1081 (20071.” Davia’ Ctmnr'ngham, v. School Board of

Lake County, Florida, 2016 WL 1755612 (l\/I.D. Fla. 2016.

5. “A district court can generally consider exhibits attached to a complaint in
ruling on a motion to dismiss, and if the allegations of the complaint about a particular
exhibit conflict with the contents of the exhibit itself1 the exhibit controls See, e.g.,
Crenshrnv v. Li',s‘l'er, 556 P.3d 1283. 1292 tiith Cir.2009) (citing cases). The classic

example is when a plaintiff attaches a document to his complaint but his allegations about

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what the document is or says contradict the document itself. See, e.g., §LM
Welsh Larnber Co., t l3 F.2d 8121 813 (5th Cir.1940) (letter in breach of contract
action)." Hoejlfng, v. Cin 0fMiamr'1 811 F.3d 1271, 1275 (11‘h Cir. 2016).

6. A review of the Personal Guaranty dated .ianuary 4, 2010, clearly
indicates that it pertains to Defendant Hassan Alawie, agreeing to Guaranty the debts of
a wholly separate corporate entity known as World l\/lagic Entertainment1 Inc.

7. The Plaintiff is attempting to utilize the Guaranty for Worid Magic
.’Entertainment1 lnc. for a separate Florida entity, World Magic Games1 LLC which was
not even in existence until February 201 1.

CONCLUSION

8. Based upon the clear and unambiguous facts that 1) Plaintiff is suing
Defendant, World l\/iagic Games, LLC and not World Magic Entertainment, lnc.; and 2)
the attached Personal Guaranty was executed on January 41 201 1 by Hassan Alawie, for
non-party1 World Magic Entertainment, Inc. and Not Defendant, World Magic Garnes,
LL,C, this Complaint must be dismissed as to Hassan Alawie.

WHEREFORE, the Defendants, HASSAN ALAWIE, respectfully request this
Court enter an Order to dismiss this action with prejudice and impose attorney fees and
costs against Plaintiff pursuant to Florida law and contract and any further relief this

Court deemsjust and proper.

Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docl<et 10/21/2016 Page 51 of 55

CERTIFICATION
l HEREBY CERTIFY that a true and correct copy of the foregoing was sent to

Etan l\/lark1 Esquire, emart<@bergersingerman.corn
Colleen Maranges, Esquire, cmaranges@bergersingerman.com

this 24th day ofAugust, 2016.

/s/ Kevin Dennis
Kevin D. Dennis1 Esquire

Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docl<et 10/21/2016 Page 52 of 55

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORI])A

SOLUTIONS 2 GO1 LLC, )
)
Plaintiff, ) CIVIL DIVISION
v. )
) Case No. 2016-cv-22967-UU
WORLD MAGIC GAMES, LLC1 )
HASSAN ALAWIE, )
)
Defendants )
)
)

 

DEFENDANTS, WORLD MAGIC GAMES, LLC ANSWER
COMES NOW, the Defendant, WORLD MAGIC GAMES, LLC and files this

Answer and Affirmative Defenses, and states:

1 . Admit.
2. Admit.
3. Admit.
4. Adrnit.
5 . Admit.

6. Without knowledge

7. Admit.
8. Admit.
9. Admit.
10. Admit.
1 1. Admit.
1 12. Admit.

1
EXHIBIT “F”

Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docl<et 10/21/2016 Page 53 of 55

13. Denied.

14. Denied.

15. Defendant restates its previous responses
16. Admit.

17. Without knowledge

18. Admit Defendant, World Magic did not pay $911,740.00.

19. Without knowledge

20. As paragraphs 19 through 23 are not directed to this Defendant1 no
response it required In the abundance of caution same is denied.

24. Defendant restates its previous responses

25. Without knowledge

26. Denied as stated.

27. Denied.

28. Denied as stated.

29. Denied as stated

30. Defendant restates its previous responses

3 1. Admit.

32. Without knowledge

33. Admit.

34. Denied as stated.

35. Admit World Magic has not paid to Plaintiff $9111740.00.

36. Defendant restates its previous responses

37. Admit.

Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docl<et 10/21/2016 Page 54 of 55

38.

39.

40_

41.

42.

Without knowledge

Admit.

Without knowledge

Defendant restates its previous responses

Adrnit Solutions delivered goods Denied remaining allegations

Denied as stated

Respectfully submitted,

The Law Offices of Kevin D. Dennis, LLC
45 Almeria Avenue

Coral Gables, Florida 33134

(305) 577-0311

(305) 577-0321

Address for Electronic Service:

kevin@dennislegal.com

/s/ Kevin Dennis
Kevin D. Dennis, Esquire
Florida Bar #0756431

CERTIFICATION

l HEREBY CERTIFY that a true and correct copy of the foregoing was sent to

Etan Mark, Esquire, emark@bergersingerman.com
Colleen Maranges, `Esquire1 cmaranges@bergersingerman.com

this 24th day of August1 2016.

/s/ Kevin Dennis
Kevin D. Dennis, Esquire

LlCLC|.l l U'Y L`»lll.l Ly l\l¢l| l IC llLLlJ.H bcdl bll. bLUlUEL.Ul 57 ll lk»lull _Y.' \./Ul }.)\Jl all\}ll\)b£li bl].i LJ\/r.l.l. blLl\\¢nLu LIJbLLLl ...

Case 1:16-cV-22967-UU Document 20 Entered on FLSD Docl<et 10/21/2016 Page 55 of 55

 

estes by entity name

Florida Limited Liabi|ity Company
WORLD MAGiC GA|V|ES, LLC

Fi|ing information

Document Number L110000‘13528
FE|IE|N Number XX-XXXXXXX
Date Filed 02701!2011
State FL

Status ACT|VE

Principa| Address

2201 NW102ND PLACE SUETE 2
M|AN||, FL 33172

Changed: 09725!2012

Nlailing Address

2201 NVV102ND PLACE SU|TE 2
|\."|IAM|, FL 33172

Chang€d! 09."25/2012

Registered Agent Name & Acidress

ATW|, HALA
4796 NW 111 COURT
Nl|AM|, FL 33122

Authorizeci F'erson s Detaii
Name 81 Address

Trtie MGR

iAT\NL HALA

4796 NW111 COURT
inlA|\rll. FL 33122

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2 Ors EXHIBIT “G” 10/20/2016 2;53 Pivi

